Case 2:04-Cr-20254-BBD Document 205 Filed 08/02/05 Page 1 of 3 Page|D 179

Fll.ED BY ,4,._.. D.O.
UNITED STATES DISTRICT COURT ‘

WESTERN DISTRICT OF TENNESSEE .. PH \2; 08
WESTERN DIVISION 05 hug 2

' ' THOMAS it GOULD
UNITED sTATEs oF AMERICA (;LER\<a Lz§; snTR‘.CTCG!BT
Criminal No. 04-20\155¢?])'}?. hinin
V. No. 04-MJ-075

SONNY SHIELDS .
LENDZO PARKER and
JAMES STAFFORD

 

ORDER ALLOWING WITHDRAWAL OF COUNSEL

 

Before the court is the motion of Howard Manis, appointed counsel for the
defendant J ames Stafford, seeking an order from this court allowing him to withdraw
from the representation of defendant J ames Stafford. Counsel states that he is moving
out of town and will no longer be available to represent defendant Stafford.

For good cause shown, Howard Manis be and hereby is allowed to Withdraw as
counsel for defendant Stafford. The appointment of Howard Manis is therefore

terminated, and new counsel will be appointed for the defendant

    

U 1ted States District Court lodge

 

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with Hute 55 and/cr 32(b) FRCrP on

 

 

STRIC COURT - W'"TRN DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 205 in
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Honorable Bernice Donald
US DISTRICT COURT

